       Case 4:16-cv-02233-JST Document 86 Filed 01/24/17 Page 1 of 5




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     [Additional Counsel for Defendant on signature page]
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          Attorneys for Defendant ADT LLC
16
                                   UNITED STATE DISTRICT COURT
17
            NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
18
19
     MICHAEL EDENBOROUGH, individually                 )   Case No: 3:16-CV-02233-JST
20   and on behalf of all others similarly situated,   )
                                                       )   CLASS ACTION
21                  Plaintiff,                         )
                                                       )   JOINT NOTICE OF SETTLEMENT AND
22          vs.                                        )   STIPULATED REQUEST FOR STAY;
                                                       )   PROPOSED ORDER
23   ADT, LLC d/b/a ADT SECURITY                       )   (L.R. 7-12)
     SERVICES, INC. a Florida limited liability        )
24   company,                                          )   Hon. Jon S. Tigar
                                                       )
25                  Defendants.                        )
                                                       )
26                                                     )
                                                       )
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         JOINT NOTICE OF SETTLEMENT AND STIPULATED REQUEST FOR STAY; PROPOSED ORDER
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 1          The parties to the above-captioned action (the “California Action”) hereby notify the

 2   Court that they have through JAMS mediation reached an agreement to settle on a nationwide

 3   settlement class basis the claims alleged in this California Action and in the following related

 4   actions:

 5              •   Dale Baker v. The ADT Corporation and ADT, LLC d/b/a ADT Security
 6                  Services, Case No. 15-cv-02038-CSB-DGB (USDC CD Illinois);

 7              •   Janet Cheatham v. ADT Corporation and ADT LLC., Case No. 2:15-cv-02137-
 8                  DGC (USDC Arizona);

 9              •   Santiago L. Hernandez v. ADT, LLC d/b/a ADT Security Services, Case No.
10                  50-2016-CA-002944XXXXMB (Cir. Ct. 15th Jud. Cir. Florida); and

11              •   Patricia Wilson v. The ADT Corporation and ADT, LLC d/b/a ADT Security
12                  Services, Case No. 50-2016-CA-004410XXXXMB (Cir. Ct. 15th Jud. Cir.

13                  Florida)

14   (collectively, the “Actions”). All parties in all the Actions have executed a Memorandum of

15   Understanding memorializing the fundamental terms of the proposed class settlement, to be

16   more formally documented in a Stipulation of Settlement and then submitted for court

17   approval pursuant to Rule 23(e), Federal Rules of Civil Procedure.

18          If approved, the settlement will result in the dismissal with prejudice of all claims

19   alleged in this California Action. However, should final approval not be attained for any

20   reason, the Memorandum of Understanding contemplates restoration without prejudice of all

21   parties in all Actions to the positions in which they stood immediately prior to their reaching

22   the settlement. The parties therefore agreed to an immediate and complete stay in all the

23   Actions except to the extent necessary to obtain approval of the settlement. The parties

24   accordingly jointly and respectfully request that the above-captioned California Action be

25   stayed pending completion of the settlement approval process.

26          The parties propose filing a status report with this Court on March 17, 2017, and every

27   90 days thereafter.

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         JOINT NOTICE OF SETTLEMENT AND STIPULATED REQUEST FOR STAY; PROPOSED ORDER
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 1          SO STIPULATED.
 2   Dated: January 24, 2017.

 3   CHAVEZ & GERTLER LLP                       BARTLIT BECK HERMAN
     BONNETT, FAIRBOURN,                          PALENCHAR & SCOTT LLP
 4
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         JOINT NOTICE OF SETTLEMENT AND STIPULATED REQUEST FOR STAY; PROPOSED ORDER
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 1                                PROPOSED ORDER

 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3

 4   Dated: _________________________    ________________________________
                                         Hon. Jon S. Tigar
 5
                                         U.S. District Court Judge
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        JOINT NOTICE OF SETTLEMENT AND STIPULATED REQUEST FOR STAY; PROPOSED ORDER
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 1                                 SIGNATURE ATTESTATION
 2

 3          I, Nance F. Becker, am the ECF User whose ID and password are being used to file this

 4   JOINT NOTICE OF SETTLEMENT AND STIPULATED REQUEST FOR STAY; PROPOSED

 5   ORDER. In compliance with Local Rule 5-1(i)(3), I hereby attest that Defendants’ counsel have

 6   concurred in this filing.

 7

 8
     DATED: January 24, 2017                          CHAVEZ & GERTLER, LLP
 9

10                                                    By: /s/ Nance F. Becker

11
                                                             NANCE F. BECKER
12
                                                             Attorneys for Plaintiff
13                                                           Michael Edenborough and the
                                                             Proposed Class
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         JOINT NOTICE OF SETTLEMENT AND STIPULATED REQUEST FOR STAY; PROPOSED ORDER
